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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF VIRGINIA




   ELIZABETH SINES et al.,                          )
        Plaintiffs,                                 )        Case No. 3:17-CV-72
        v.                                          )
                                                    )        Judge Norman K. Moon
   JASON KESSLER et al.,                            )
                                                    )
          Defendants.                               )
                TRIAL EXHIBIT LIST OF DEFENDANTS KESSLER, DAMICO
                               AND IDENTITY EVROPA
                                     AMENDED
EXHIBIT                                         EXHIBIT
  NO.

  A       PDF-Search Warrant Affidavit-Moers
  B       PDF-Search Warrant Affidavit-Myles et al
  C       PDF-Second Search Warrant Affidavit-Myles et al.
  D       Heaphy Report




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    Defendants reserve the right to amend this list in light of any new information developed

    before or during trial.

                                                                Respectfully Submitted,

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                                                                Nathan Damigo, and Identity
                                                                Evropa


                                  CERTIFICATE OF SERVICE

    I certify the above was served on OCTOBER 2, 2021 on all ECF participants and that parties
    requiring service by other means were served as follows:


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                                                                Respectfully Submitted,

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